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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

                                           §
 DAVID SAMBRANO, et al.,                   §
 individually, and on behalf of all        §
 others similarly situated,                §             Civil Action No.
                                           §
        Plaintiffs,                        §             4:21-CV-01074-P
                                           §
 v.                                        §
                                           §
 UNITED AIRLINES, INC.,                    §
                                           §
        Defendant.                         §


                                      ORDER


        Before the Court is Defendant’s Unopposed Motion to Continue Hearing on

Defendant’s Amended Motion to Compel Production of Documents (ECF No. 194).

Having considered the Motion, relevant docket entries, and applicable law, the Court

GRANTS the Motion.

        It is therefore ORDERED that the hearing on Defendant’s Amended Motion to

Compel the Production of Documents (ECF No. 175) that was previously scheduled

for August 10, 2023 is RESET to August 30, 2023 at _______ __.m. in Judge Cureton’s

Courtroom on the 5th Floor, Room 508 of the Eldon B. Mahon United States

Courthouse, 501 W. 10th St., Fort Worth, Texas, 76102.

        SO ORDERED on this ______ day of _____________, 2023.




                                      UNITED STATES MAGISTRATE JUDGE


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